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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

 JOHN A. CHARRON,                       )
                                        )
              Plaintiff,                )
                                        )
       v.                               )     No. 2:18-cv-00105-JAW
                                        )
 COUNTY OF YORK et al.,                 )
                                        )
              Defendants.               )

              FINDINGS OF FACT AND CONCLUSIONS OF LAW

       This is a case about a false police report and its consequences. On May 20,

 2021, the Court held a bench trial concerning plaintiff John A. Charron’s damages

 attributable to defendants Christopher Moss and Eric J. Pilvelait. In accordance with

 Federal Rule of Civil Procedure 52, the Court reviewed all evidence presented and

 Mr. Charron’s supplemental briefing and now finds, in part, for Mr. Charron. The

 Court makes the following findings of fact and conclusions of law.

 I.    PROCEDURAL BACKGROUND

       On March 8, 2018, John Charron filed a complaint against York County,

 Deputy Sheriff Rachel Horning, Deputy Sheriff Darren Cyr, Deputy Sheriff Heath

 Mains, Sergeant Steven Thistlewood, York County Sheriff William King, Jr., and

 Court Officer Wilfred Vachon (County Defendants), as well as Christopher Moss and

 Eric Pilvelait. Compl. at 1 (ECF No. 1). Mr. Moss and Mr. Pilvelait did not answer

 the Complaint and on July 27, 2018, Mr. Charron moved for entry of default and

 default judgment against them. Pl.’s Appl. to Clerk for Default Against Non-County

 Defs. Christopher Moss and Eric J. Pilvelait (ECF No. 18); Pl.’s Verified Mot. for
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 Default J. Against Non-County Defs. Christopher Moss and Eric J. Pilvelait (ECF

 No. 19). On July 30, 2018, the Deputy Clerk granted the Motion for Entry of Default.

 Order Granting Mot. for Entry of Default (ECF No. 20).

       On October 22, 2018, the Court dismissed Mr. Charron’s Motion for Default

 Judgment without prejudice, Order (ECF No. 27), because Mr. Charron requested a

 damages determination by the jury at trial. Pl.’s Mot. for Jury Determination of

 Damages Against Defaulted Defs. (ECF No. 24); Order (ECF No. 25). On July 25,

 2019, the County Defendants moved for summary judgment. County Defs.’ Mot. for

 Summ. J. (ECF No. 68). On April 14, 2020, the Court granted the County Defendants’

 motion for summary judgment. Order on Mot. for Summ. J. (ECF No. 100).

       On May 20, 2021, after Mr. Charron waived his right to a jury trial, the Court

 conducted a bench trial and received witness testimony, documentary evidence, and

 video evidence concerning the amount of Mr. Charron’s damages attributable to Mr.

 Moss and Mr. Pilvelait. Min. Entry (ECF No. 122); Tr. of Proceedings (ECF No. 130)

 (Trial Tr.). Mr. Pilvelait attended some of the trial; Mr. Moss did not. Mr. Charron

 submitted post-trial memoranda on July 20, 2021, and July 21, 2021. Pl.’s Mem. of

 Law on Damages (ECF No. 128) (Pl.’s Mem.); Suppl. to Pl.’s Mem of Law on Damages

 (ECF No. 129) (Pl.’s Suppl. Mem.).

 II.   JOHN CHARRON’S POST-TRIAL MEMORANDA

       At the close of the trial, the Court ordered Mr. Charron to provide authority

 supporting his claim that Mr. Moss and Mr. Pilvelait are liable for damages from

 arguably unforeseeable actions by County Defendants. Trial Tr. at 146:2-23. When

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 Mr. Charron’s attorney said that he wanted to supplement the record with additional

 statements Mr. Moss and Mr. Pilvelait made to police, the Court told Mr. Charron he

 would need to convince the Court those statements are not hearsay. Id. at 147:23-

 148:9.

          A.    Post-Trial Memorandum

          Mr. Charron’s post-trial memorandum cites no Maine authority about the

 scope of damages a malicious prosecution plaintiff may recover. Pl.’s Mem. at 1-13.

 Instead, he relies on Seidel v. Greenberg, 260 A.2d 863 (N.J. Super. Ct. 1969) and

 argues that Mr. Moss and Mr. Pilvelait should be held liable for the full measure of

 damages Mr. Charron incurred from the state prosecutor’s conduct, in part, because

 Mr. Moss and Mr. Pilvelait failed to come forward to exonerate Mr. Charron after he

 was charged. Id. at 3-4.

          Mr. Charron argues the potentially hearsay statements of Mr. Moss and Mr.

 Pilvelait to police support his claim. Id. at 5-7. He insists that by making these

 statements, Mr. Moss and Mr. Pilvelait did not merely set this prosecution in motion,

 they “followed the ball and affirmatively pushed it.” Id. at 7. He further argues that

 it “cannot be surprising or unforeseeable to the defendants . . . that the prosecutor

 did not accept Mr. Charron’s protestations of innocence and claims of exculpatory

 evidence.” Id. at 8. Specifically, Mr. Charron flags Mr. Moss and Mr. Pilvelait’s

 handwritten statements to law enforcement on March 9, 2016, id., Attach. 1,

 Voluntary Written Statement at 1-2 (Pl.’s Ex. A-1), Mr. Pilvelait’s oral statement to

 Deputy Horning on March 29, 2016, about the Sunfire’s location, contained in Deputy

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 Horning’s email to York County Assistant District Attorney Kyle Myska, id., Attach.

 2, Mar. 29, 2016, Email from Deputy Horning to ADA Myska (Pl.’s Ex. A-2),

 handwritten statements by Mr. Moss and Mr. Pivelait to law enforcement on or about

 March 30, 2016, id., Attach. 3, Voluntary Written Statement (Pl.’s Ex. A-3), and a law

 enforcement report of an interview of Mr. Pilvelait on or about June 30, 2016, id.,

 Attach. 4, Report of Tamson H. Ross (Pl.’s Ex. A-4). 1

        B.      Supplemental Post-Trial Memorandum




 1       At trial, the Court expressed concerns to Mr. Charron’s counsel that statements from Mr. Moss
 and Mr. Pilvelait to police may be inadmissible hearsay. Trial Tr. at 148:2-23. After reviewing the
 submissions, the Court finds Plaintiff’s Exhibits A-1 and A-3 are not hearsay. The Court cannot say
 the same for Plaintiff’s Exhibits A-2 and A-4.
         Plaintiff’s Exhibit A-1 contains handwritten statements apparently signed by Mr. Moss and
 Mr. Pilvelait, relating the false accusations against Mr. Charron to the York County Sheriff’s
 Department. These statements are not hearsay because they are words of independent legal
 significance, that is, they are the false accusations that support Mr. Charron’s defamation and
 malicious prosecution claims. These statements are admissible to show that they were made.
 Moreover, Mr. Charron seeks admission not for the truth of these statements, but for their untruth.
         Plaintiff’s Exhibit A-2 is an email chain between ADA Kyle Myska, Mr. Vachon, and Deputy
 Horning, and an attached excerpt of Deputy Horning’s deposition testimony. Pl.’s Ex. A-2. Mr.
 Charron seeks to admit this exhibit for the truth of Deputy Horning’s assertion that Mr. Pilvelait told
 her that he had sold the Pontiac Sunfire for salvage value. Pl.’s Mem. at 6-7. Mr. Charron has not
 persuaded the Court that the Federal Rules of Evidence permit this. While Federal Rule of Evidence
 801(d)(2)(B) might render the statement not hearsay if offered against Deputy Horning, Mr. Charron
 seeks to admit the statement against Mr. Moss and Mr. Pilvelait. Mr. Charron seems to acknowledge
 this, noting that Mr. Pilvelait’s oral statement “can be admitted through the testimony of Deputy
 Horning.” Pl.’s Mem. at 5.
         Plaintiff’s Exhibit A-3 contains supplemental handwritten statements to law enforcement from
 Mr. Moss and Mr. Pilvelait. Pl.’s Ex. A-3 at 2-3. Although Mr. Moss’ statement is undated, Mr.
 Pilvelait’s statement is dated March 30, 2016. Id. The Court concludes these statements are not
 hearsay for the same reasons as the statements in Plaintiff’s Exhibit A-1.
         Plaintiff’s Exhibit A-4 is a written report of Tamson H. Ross, an investigator at the York
 County District Attorney’s Office. Pl.’s Ex. A-4. The report describes a June 30, 2016, conference call
 between ADA Myska, a victim witness advocate, and Mr. Pilvelait, in which Mr. Pilvelait allegedly
 repeated the claim that Mr. Charron rammed the Sunfire with his plow. Id. at 1-2. It appears Mr.
 Charron seeks to admit the Ross Report not only for the truth that Mr. Pilvelait made these
 statements, but also that Mr. Pilvelait claimed his statements were true when he made them. Mr.
 Charron failed to show that a hearsay exception would permit admission of the Ross Report for its
 truth and acknowledges that the statements “can be admitted through the testimony of [ADA] Myska
 or the investigator who recorded them, Tamson Ross.” Pl.’s Mem. at 5-6.
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        Mr. Charron’s supplemental memorandum further analyzes Seidel.              Pl.’s

 Suppl. Mem. at 1-4. He argues fundamental principles of tort law permit a plaintiff

 to recover damages for an intentional tort under a laxer standard of proximate cause

 than in a negligence action. Id. at 2-3.

 III.   LEGAL STANDARD

        “It is settled law that, upon entry of default, the defaulted party concedes the

 well-pleaded facts in the complaint.” Parker v. Dall-Leighton, No. 2:17-cv-00216-GZS,

 2018 U.S. Dist. LEXIS 163856, at *1-2 (D. Me. Sept. 25, 2018) (citing Quirindongo

 Pacheco v. Rolon Morales, 953 F.2d 15, 16 (1st Cir. 1992)). When the plaintiff’s factual

 allegations state a claim upon which relief may be granted, “the defendant’s liability

 is established at the moment of default.” Id. at *2 (citing Hooper-Haas v. Ziegler

 Holdings, LLC, 690 F.3d 34, 41 (1st Cir. 2012); Brockton Sav. Bank v. Peat, Marwick,

 Mitchell & Co., 771 F.2d 5, 13 (1st Cir. 1985)).

        An entry of default is not always conclusive regarding damages. See G. & C.

 Merriam Co. v. Webster Dictionary Co., 639 F.2d 29, 34 n.7 (1st Cir. 1980). Whenever

 the plaintiff’s alleged damages are not for a “sum certain,” Federal Rule of Civil

 Procedure 55(b) requires the plaintiff “apply to the court” for a default judgment.

 FED. R. CIV. P. 55(b). Thus, “where a plaintiff’s claim for damages is not ascertainable

 from the pleadings, the court should hold a post-default hearing to appraise the

 damage total.” Parker, 2018 U.S. Dist. LEXIS 163856, at *2 (citing Graham v. Malone

 Freight Lines, Inc., 314 F.3d 7, 16 n.12 (1st Cir. 1999)). Pursuant to Federal Rule of

 Civil Procedure 52(a)(1), the Court must “find the facts specially and state its

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 conclusions of law separately” in “an action tried on the facts without a jury or with

 an advisory jury.” FED. R. CIV. P. 52(a)(1).

 IV.     FINDINGS OF FACT 2

         A.      The Parties

         Mr. Charron, Mr. Moss, and Mr, Pilvelait each resided in the town of Acton,

 Maine at all times relevant to this lawsuit. Compl. ¶¶ 2, 10-11.

         B.      The March 8, 2016, Incident on Langley Shores Drive 3

         On March 8, 2016, Mr. Moss and Mr. Pilvelait were harassing Mr. Charron

 while traveling in a Pontiac Sunfire near Mr. Charron’s home at 106 Langley Shores

 Drive in Acton, Maine. Compl. ¶ 13. Mr. Moss and Mr. Pilvelait were yelling

 obscenities and threats at Mr. Charron and peeling out their car tires in Mr.

 Charron’s dirt driveway. Compl. ¶ 14. They intended to intimidate Mr. Charron.

 Compl. ¶ 14.

         Mr. Charron’s neighbor, Ryan Lemay, was bedding down for the night when

 he heard the clamor unfold. Trial Tr. at 61:10-21. Mr. Lemay first heard a vehicle

 outside Mr. Charron’s house. Id. at 61:18-19. The men in the vehicle were yelling,

 screaming, and threatening to kill Mr. Charron. Id. Mr. Lemay then saw the vehicle


 2       The Court prepared these findings of fact after considering the entire record including the
 Complaint. Mr. Moss and Mr. Pilvelait are defaulted parties. Order Granting Mot. for Entry of
 Default. Through their default, Mr. Moss and Mr. Pilvelait admitted the factual allegations in Mr.
 Charron’s Complaint. See Brockton Sav. Bank, 771 F.2d at 13 (“[T]here is no question that, default
 having been entered, each of [the plaintiff’s] allegations of fact must be taken as true”). Accordingly,
 some factual findings may differ from the Court’s description of the facts in the Court’s order granting
 the County Defendants’ motion for summary judgment. See Order on Mot. for Summ. J.
 3       Mr. Charron’s submissions repeatedly refer to the March 8, 2016, incident as taking place on
 “Langley Shores Drive” but a map he moved into evidence during the damages hearing identifies the
 street as Langley Shore Drive. Pl.’s Ex. 1. As the difference is not material, the Court accepts Mr.
 Charron’s naming of the street on which he resides.
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 pull out of Mr. Charron’s dooryard and speed up Langley Shores Drive away from

 Great East Lake. Id. at 61:20-21. Moments later, Mr. Charron pulled out of the

 driveway in his plow truck and followed the car. Id. at 63:24-64:7.

       Several minutes later, while Mr. Charron was driving his plow truck down

 Langley Shores Drive, Mr. Moss and Mr. Pilvelait intentionally crashed the Pontiac

 Sunfire into the rear of Mr. Charron’s plow truck. Compl. ¶ 15. The force of the

 collision caused the Sunfire to slide under the rear bumper of Mr. Charron’s truck.

 Compl. ¶ 16. The crash left marks on the hood of the Sunfire, which clearly matched

 the underside of the plow truck’s rear bumper. Compl. ¶ 16. Following the crash,

 Mr. Charron drove back to his home on Langley Shores Drive to get away from Mr.

 Moss and Mr. Pilvelait. Compl. ¶ 17.

       Mr. Moss and Mr. Pilvelait followed Mr. Charron home. Compl. ¶ 18. They

 drove by his house in the Pontiac Sunfire, cussed at him, and raced to the end of

 Langley Shores Drive, where the Sunfire spun around and drove into a ditch. Compl.

 ¶ 18. When the Sunfire came to a stop, its tire tracks were clearly visible and showed

 the car had traveled off the road and into the ditch. Compl. ¶ 19. Mr. Moss and Mr.

 Pilvelait fled the scene because they had been drinking and had just gone off the road

 after crashing into Mr. Charron’s plow truck. Compl. ¶ 20.

       Abandoning the Sunfire in the ditch, Mr. Moss and Mr. Pilvelait again

 returned to Mr. Charron’s home. Compl. ¶ 21. This time, they shattered his plow

 truck’s window. Compl. ¶ 21. Mr. Moss and Mr. Pilvelait did this to further harass

 and intimidate Mr. Charron. Compl. ¶ 21. Mr. Moss started kicking and banging on

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 Mr. Charron’s door, screamed “I’m going to fucking kill you,” and yelled “Come out

 you fucking pussy!” Trial Tr. at 41:17-21, 42:5-6. Mr. Charron stayed inside. Id. at

 42:7-8.

       Around this time, Mr. Lemay heard a person running up the road past his

 home. Id. at 67:2-3. Then, a vehicle came down the road and Mr. Lemay heard a

 man yell “Get in the truck! You’re drunk! You don’t need to be down here! We need

 to go!” Id. at 67:4-7. Mr. Lemay heard more yelling at Mr. Charron before hearing a

 car door close and the car driving away. Id. at 67:7-9.

       After Mr. Moss returned home, his mother contacted the police and requested

 assistance removing him from her home on Buzzell Road in Acton, Maine. Compl.

 ¶ 22. York County Deputy Sheriff Rachel Horning arrived and spoke with Mr. Moss.

 Compl. ¶ 22. Mr. Moss falsely told Deputy Horning that Mr. Charron had rammed

 his plow truck into the Pontiac Sunfire while Mr. Moss and Mr. Pilvelait were inside

 the vehicle at the end of Mr. Pilvelait’s driveway at 425 Buzzell Road, Acton, Maine.

 Compl. ¶ 23. Mr. Moss also falsely told Deputy Horning that Mr. Charron had his

 plow raised when he rammed the Sunfire, such that the plow scraped over the

 Sunfire’s hood. Compl. ¶ 24. Mr. Moss further told Deputy Horning that Mr. Charron

 used his plow truck to push the Pontiac Sunfire, with Mr. Moss and Mr. Pilvelait

 inside, more than a quarter of a mile to the end of Langley Shores Drive. Compl. ¶ 25.

 Mr. Moss made these false allegations to deflect attention from himself as a criminal

 suspect or perpetrator and to make himself look like a victim. Compl. ¶ 23.




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       York County Deputy Sheriff Darren Cyr arrived at the Moss residence to assist

 Deputy Horning with the investigation. Compl. ¶ 26. Deputy Horning and Deputy

 Cyr then left the Moss residence and drove to the end of Langley Shores Drive where

 they rendezvoused with York County Deputy Sheriff Steven Thistlewood and Deputy

 Sheriff Heath Mains. Compl. ¶ 27.

       Each deputy saw the Sunfire in the ditch. Compl. ¶ 28. It was apparent from

 the Sunfire’s physical damage and its tracks that Mr. Charron had not pushed the

 car into the ditch with his plow as Mr. Moss claimed. Compl. ¶ 29. It was equally

 apparent from the Sunfire’s condition that Mr. Charron had not pushed the car down

 Langley Shores Drive for a quarter of a mile. Compl. ¶ 30.

       Based on Mr. Moss’ false allegations, the deputies went to Mr. Charron’s home

 and arrested him. Compl. ¶ 31. Upon arriving at the Charron residence, the four

 deputies could clearly see that Mr. Charron’s plow truck window had been smashed.

 Compl. ¶ 32. This was consistent with a statement Mr. Charron made to deputies

 before his arrest that he witnessed Mr. Moss smash the window after Mr. Moss and

 Mr. Pilvelait rear ended the plow truck. Compl. ¶ 32.

       Mr. Charron was standing in his dooryard when law enforcement arrived.

 Trial Tr. at 81:21-82:1.   Approaching Mr. Charron with their guns drawn, law

 enforcement ordered him to get on the ground. Id. at 82:1-2. Mr. Charron complied,

 but questioned why this was necessary because he did not do anything wrong.

 Id. at 82:2-4. Mr. Charron tried to explain that Mr. Moss and Pilvelait were at fault

 for terrorizing him and rear-ending his plow truck. Id. at 82:4-6. The officers stood

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 Mr. Charron up and handcuffed him. Id. at 82:14-15. This was painful for Mr.

 Charron because he has spinal stenosis and was handcuffed behind his back. Id.

 at 141:24-142:9. Law enforcement refused to handcuff Mr. Charron in front of his

 body. Id. at 142:9-12.

       Authorities placed Mr. Charron in a holding cell where he was kept for many

 hours and suffered great discomfort. Compl. ¶ 34. Mr. Charron was placed inside a

 cell with no heat, no shirt, and no socks. Trial Tr. at 83:20-22. He had no mattress

 and no sheets. Id. at 84:8-11. He was very cold. Id. at 83:21-22. Mr. Charron was

 denied the opportunity to sleep and left to lay on freezing cold steel. Compl. ¶ 34.

       During the events of March 8, 2016, Mr. Pilvelait concealed himself from the

 sheriff’s deputies who tried to contact him before arresting Mr. Charron. Compl. ¶ 35.

 Mr. Pilvelait chose to conceal himself because he was obviously intoxicated and

 wanted to avoid being arrested and charged with operating under the influence of

 alcohol. Compl. ¶ 36.

       C.     The Next Day: March 9, 2016

       On March 9, 2016, Mr. Charron’s mother, Josephine Charron, paid $3,000.00

 to bail Mr. Charron out of jail. Trial Tr. at 10:12-14; 11:7-12:6; Pl.’s Ex. 5 at 1; Pl.’s

 Ex. 5C. Mr. Charron’s bail bond required him to submit to searches of his person,

 vehicle, and residence at any time without reasonable suspicion or probable cause.

 Trial Tr. at 86:18-22; Pl.’s Ex. 5C. The bail bond also prohibited Mr. Charron from

 possessing alcoholic beverages, dangerous weapons, or firearms. Trial Tr. at 86:23-

 87:15. Mr. Charron’s firearms had to be secured away from him. Id. at 87:13-15.

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 While Mr. Charron was on bail, he recalls two instances in which law enforcement

 came to his home and searched it. Id. at 135:8-9. The searches were wide-ranging;

 law enforcement even searched his refrigerator. Id. at 135:10-11. A state judge

 struck the no-alcohol condition on June 13, 2016. Id. at 87:16-17.

       Also, on March 9, 2016, Mr. Pilvelait met with Deputy Horning after sobering

 up. Compl. ¶ 37. He told Deputy Horning the same false story that Mr. Moss

 concocted the night before. Compl. ¶ 37. Mr. Pilvelait’s handwritten statement

 related that the Sunfire’s air bags deployed and knocked him out after Mr. Charron

 collided with the Sunfire. Pl.’s Ex. A-1 at 1. Mr. Pilvelait wrote that he was “scared

 [to] death” and that Mr. Charron yelled Mr. Pilvelait and Mr. Moss “were dead.” Id.

 Dated the same day, Mr. Moss’ handwritten statement claimed that Mr. Charron was

 “burning tires” in front of the Pilvelait residence and that he “pushed [Mr. Moss and

 Mr. Pilvelait] against a snow bank with his plow truck – then yelled ‘you guys are

 fucking dead.’” Id. at 2

       Later that day, York County Sheriff William King caused or allowed the

 substance of Mr. Moss’ and Mr. Pilvelait’s false allegations against Mr. Charron to be

 posted on the York County Sheriff’s Department website. Compl. ¶ 38. Sheriff King

 also told the Portland Press Herald and other news sources that Mr. Charron was

 arrested for “using his plow truck to ram a car with two teens in it.” Compl. ¶ 39.

 Sheriff King said this even though he and his deputies knew that Mr. Moss was

 twenty-seven and Mr. Pilvelait was twenty. Compl. ¶ 40. Sheriff King further told

 the Portland Press Herald that Mr. Charron “drove straight into the front of a vehicle

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 parked in his neighbor’s driveway with the plow raised in the air.” Compl. ¶ 41. He

 also said “[t]he blade slid up and over the car’s front hood and broke the windshield.”

 Compl. ¶ 42. He noted that this caused the air bags to deploy and that Mr. Moss and

 Mr. Pilvelait “suffered minor bumps and bruises.” Id. The Portland Press Herald

 and other news outlets reported Sheriff King’s statements in print and online sources,

 and those reports remain on the internet. Compl. ¶ 43.

        D.        Investigation, Indictment, Prosecution, and Dismissal

        State prosecutors charged Mr. Charron with three felonies: Aggravated

 Reckless Conduct, Aggravated Assault, and Criminal Threatening with a Dangerous

 Weapon. 4 Compl. ¶ 33. The charges were based on Mr. Moss’ false allegations and

 the deputies’ reports that accepted those allegations, despite the physical evidence

 from the Sunfire showing that the allegations were false. Compl. ¶ 33. On March

 15, 2016, Mr. Charron moved for appointment of counsel. Pl.’s Ex. 5 at 1. That same

 day, Maine District Court Judge Richard Mulhern granted the motion and appointed

 Attorney Gregory McCullough to represent Mr. Charron. Id. On March 30, 2016,

 Mr. Moss and Mr. Pilvelait supplemented their March 9, 2016 handwritten

 statements with additional handwritten statements, repeating the same allegations.

 Pl.’s Ex. A-1.




 4      The indictment reflects that, in total, state prosecutors charged Mr. Charron with six counts:
 (1) aggravated reckless conduct toward Mr. Moss, (2) aggravated assault toward Mr. Moss, (3)
 aggravated assault toward Mr. Pilvelait, (4) criminal threatening with a dangerous weapon toward
 Mr. Moss, (5) criminal threatening with a dangerous weapon toward Mr. Pilvelait, and (6) driving to
 endanger. Pl.’s Ex. 5B at 1-2.
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       Instead of securing the Pontiac Sunfire that Mr. Charron allegedly rammed,

 which contained a wealth of exculpatory evidence, the individuals involved failed to

 take possession of it, failed to present the Sunfire to the prosecutor, and failed to

 report the Sunfire’s whereabouts to the prosecutor when asked on or about April 1,

 2016. Compl. ¶ 50. This occurred even though the individuals knew the Sunfire was

 in the possession of Rankin Towing, which had towed it from the crash scene at their

 request. Compl. ¶ 50.

       On April 1, 2016, Attorney McCullough emailed Assistant District Attorney

 Kyle Myska to inquire about the whereabouts of the Pontiac Sunfire. Pl.’s Ex. 9A

 at 14-15. Attorney McCullough stressed that a visual inspection of the Sunfire would

 show the marks on its hood were consistent with the Sunfire sliding under the back

 bumper of Mr. Charron’s plow truck and refute Mr. Moss and Mr. Pilvelait’s

 allegations against Mr. Charron. Id. On April 4, 2016, Attorney McCullough emailed

 ADA Myska several photographs and a video showing that Mr. Charron’s plow could

 not be lifted high enough to make the marks observed on the Sunfire’s hood. Id. at 16-

 46. On April 5, 2016, Attorney McCullough moved for discovery and to amend Mr.

 Charron’s bail conditions. Pl.’s Ex. 5 at 2.

       On April 25, 2016, Mr. Charron, his attorney, and ADA Myska appeared before

 Maine Superior Court Justice John H. O’Neil, Jr. for Mr. Charron’s initial

 appearance. Pl.’s Ex. 5 at 2. An audio recording of the proceeding confirms that

 Attorney McCullough raised his pending motion for discovery and the State’s

 potential failure to preserve exculpatory evidence. Pl.’s Ex. a1 at 00:40-01:00. Justice

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 O’Neil, then asked ADA Myska whether the Sunfire was in the State’s possession and

 ADA Myska replied the Sunfire was not in the State’s possession and never had been,

 although the State “heavily documented” the damage to the vehicle. Id. at 01:01-

 01:07.

          Attorney McCullough then addressed the motion to amend bail and said he

 wanted to challenge probable cause for the charge against Mr. Charron. Id. at 01:42-

 02:12. The State objected and urged that Mr. Charron’s conduct on March 8, 2016

 justified the alcohol condition. Id. at 01:42-02:40. Judge O’Neil told the parties that

 if they wished to have to a bail hearing, he would require the State to produce an

 affidavit supporting probable cause for the bail conditions, and that he could not

 guarantee that Mr. Charron’s bail conditions would not be increased, decreased, or

 remain the same. Id. at 03:40-04:20.

          After leaving Court on April 25, 2016, Mr. Charron contacted Rankin Towing

 and Recovery, LLC, and learned the Pontiac Sunfire was in a garage bay attached to

 Moody’s Collusion Center in Sanford, Maine. Trial Tr. at 99:19-100:18. Mr. Charron

 traveled to the garage and located the Sunfire. Pl.’s Ex. v3. Over the next few days,

 Mr. Charron returned to Rankin Towing several times to confirm the Sunfire’s

 whereabouts. Pl.’s Ex. 19B. Mr. Charron did this because he was concerned Rankin

 Towing would get rid of the Sunfire and that the only potentially exculpatory evidence

 would be lost. Trial Tr. at 111:12-16.

          On April 27, 2016, Attorney McCullough subpoenaed Rankin Towing to permit

 inspection of the Sunfire and also requested surveillance camera footage from the

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 garage. Pl.’s Ex. 21 at 1-2. On April 29, 2016, the Sanford Police Department gave

 notice to Mr. Charron to refrain from contact with Rankin Towing, Moody’s, and their

 employees, after an employee observed Mr. Charron peering through a garage

 window with a video camera. Pl.’s Ex. 7; Pl.’s Ex. 19B (100_2182.mov).

        On May 10, 2016, Mr. Charron’s attorney purchased the Sunfire for $200.00

 from Rankin Towing. Pl.’s Ex. 8. On June 6, 2016, Attorney McCullough notified

 ADA Myska via email that he had located the Sunfire and invited ADA Myska to

 inspect it. Pl.’s Ex. 9A at 11. ADA Myska responded that he would inspect the vehicle

 in the presence of a sheriff’s deputy, but not before presenting Mr. Charron’s case to

 a grand jury for a potential indictment. Pl.’s Ex. 9A at 12-13.

        On June 7, 2016, a grand jury indicted Mr. Charron on six counts: (1)

 aggravated reckless conduct toward Mr. Moss, (2) aggravated assault toward Mr.

 Moss, (3) aggravated assault toward Mr. Pilvelait, (4) criminal threatening with a

 dangerous weapon toward Mr. Moss, (5) criminal threatening with a dangerous

 weapon toward Mr. Pilvelait, and (6) driving to endanger. Pl.’s Ex. 5B at 1-2; Pl.’s

 Ex. 5 at 3. On June 13, 2016, a bail hearing was held before Maine Superior Court

 Justice Wayne Douglas, who granted the motion to amend bail in part and struck the

 condition of Mr. Charron’s bail that prohibited him from using or possessing alcohol

 or illegal drugs. Pl.’s Ex. 5 at 3; Pl.’s Ex. a2a; Pl.’s Ex. a2b.

        On June 22, 2016, ADA Myska moved to disqualify Attorney McCullough from

 representing Mr. Charron. Pl.’s Ex. 5 at 4; Pl.’s Ex. 10. The motion argued that

 Attorney McCullough’s involvement in “finding, taking, storing, measuring, and

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 photographing” the Sunfire made “it likely that Attorney McCullough will be called

 as a witness at trial.” Pl.’s Ex. 10 at 1. The motion further argued that Attorney

 McCullough’s representation of Mr. Charron likely violated Rule 3.7 of the Maine

 Rules of Professional Conduct. Id. On July 1 and 5, 2016, Attorney McCullough

 responded in opposition to ADA Myska’s motion to disqualify. Pl.’s Ex. 5 at 4; Pl.’s

 Ex. 11; Pl.’s Ex. 12. On July 13, 2016, the motion to disqualify came before Justice

 Douglas for a hearing and he continued disposition of the motion as not ripe. Pl.’s

 Ex. 5 at 5.

        At the request of Mr. Charron’s attorney, Crash Lab, Inc., an accident

 reconstruction service, analyzed the damage to the Pontiac Sunfire. Pl.’s Ex. 13.

 Crash Lab’s report, dated July 13, 2016, concluded the marks on the Sunfire were

 consistent with the Sunfire sliding under the rear bumper of Mr. Charron’s plow

 truck, and did not support Mr. Moss and Mr. Pilvelait’s claim that Mr. Charron had

 rammed them with the plow. Id. at 11. The cost of this report was $4,175.32. Pl.’s

 Ex. 15 at 4.

        On July 22, 2016, state prosecutors dismissed all charges against Mr. Charron

 shortly before trial. Pl.’s Ex. 5D; Compl. ¶ 46. The prosecution initiated the dismissal

 because of the physical evidence showed the allegations against Mr. Charron were

 false and that, in fact, Mr. Moss and Mr. Pilvelait rear ended his plow truck, just as

 Mr. Charron had claimed since the night of March 8, 2016. Compl. ¶ 46. That same

 day, the state began the process of returning the $3,000.00 bail to Josephine Charron

 and the bail bond was eventually disbursed on August 3, 2016. Pl.’s Ex. 5 at 1, 6. The

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 state of Maine paid Attorney McCullough $4,710.00 to defend Mr. Charron. Pl.’s Ex.

 17 at 1.

        E.     Aftermath

        As a result of Mr. Moss’ and Mr. Pilvelait’s actions, Mr. Charron suffered

 humiliation, embarrassment, anxiety, and severe emotional distress. Compl. ¶ 47.

 When Mr. Charron’s mother bailed him out of jail on March 9, 2016, he was mad and

 emotionally upset. Trial Tr. at 12:16-17. After Ms. Charron dropped Mr. Charron off

 at his house that day, she did not see him much. Id. at 12:22-13:3. Mr. Charron

 became withdrawn, upset, and depressed. Id. at 12:24-13:20. He was always tired

 and had trouble sleeping. Id. at 13:19-20; 134:14-23. He also experienced loss of

 appetite. Id. at 136:7-8.

        Mr. Charron was angry about the false allegations against him, which several

 new outlets publicized. Id. at 14:25-16:17. Local ABC affiliate WMTW8 ran the story

 on television with a mugshot of Mr. Charron. Pl.’s Ex. 4 at 1. The Portland Press

 Herald ran the story online with the title “Acton man accused of ramming plow truck

 into car with 2 teens inside.” Id. at 2. The Press Herald article had pictures of Mr.

 Charron’s mug shot, the Pontiac Sunfire, Mr. Charron’s plow truck, and a description

 from York County Sheriff William King of how Mr. Charron rammed his plow into

 the Sunfire. Id. at 2-4. The Bangor Daily News and Journal Tribune ran similar

 stories. Id. at 5-10.

        Widespread publication of these allegations harmed Mr. Charron’s social life.

 Id. at 134:3-6. Mr. Charron does not feel comfortable going out as he did before his

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 arrest, and he says people do not come over to his house as they used to. Id. at 134:3-

 4. Furthermore, the allegations harmed Mr. Charron’s romantic prospects.             Id.

 at 137:18-24. He had a number of girlfriends before the March 8, 2016, incident but

 none since. Id. at 138:2-7.

       Mr. Charron’s self-employment business as a tree removal expert declined

 because of the news coverage of his arrest and prosecution. Compl. ¶ 45. Although

 Mr. Charron is now totally disabled because of his spine, he previously climbed and

 cut trees, performed yardwork, or worked as a carpenter. Trial Tr. at 20:7-20. Mr.

 Charron’s back problems began limiting his ability to climb and cut trees six months

 to a year after his March 8, 2016, arrest. Id. at 20:25-21:8. As a tree climber, Mr.

 Charron made between $5,000.00 and $7,000.00 per month. Id. at 22:2-3. Directly

 following his arrest, however, many of Mr. Charron’s regular customers stopped

 contacting him and his business declined. Id. at 21:9-21.

 V.    CONCLUSIONS OF LAW

       Mr. Charron’s Complaint seeks $100,000.00 in compensatory damages and

 $150,000.00 in punitive damages from Mr. Moss and Mr. Pilvelait for “malicious

 prosecution, false arrest, false imprisonment, conspiracy to deprive him of his civil

 rights under 42 U.S.C. § 1985(3), defamation per se, intentional infliction of emotional

 distress, and for such further relief as is just and appropriate.” Compl. ¶ 52(a). Mr.

 Charron’s post-trial memorandum does not pursue a claim for damages under 42

 U.S.C. § 1985(3) and states that “[h]ere, damages are sought for malicious




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 prosecution, false arrest, false imprisonment, defamation per se, and intentional

 infliction of emotional distress.” Pl.’s Mem. at 1.

       Although Mr. Moss and Mr. Pilvelait are defaulted, “it remains incumbent

 upon the Court to make certain that the theories of liability are justified by the

 admitted facts and presented evidence.” Filler v. Hancock Cty., No. 1:15-cv-00048-

 JAW, 2019 U.S. Dist. LEXIS 39451, at *34 (D. Me. Mar. 12, 2019). The Court first

 reviews Mr. Charron’s Complaint to determine whether it states a claim for relief on

 each alleged theory of liability. The Court then assesses compensatory and punitive

 damages for the meritorious claims.

       A.     Jurisdiction

       The Court has federal question jurisdiction because Mr. Charron’s claim under

 42 U.S.C. § 1985(3) arises under federal law. 28 U.S.C. § 1331. The Court has

 supplemental jurisdiction over Mr. Charron’s state law claims against Mr. Moss and

 Mr. Pilvelait because the state law claims share a common nucleus of operative fact

 with Mr. Charron’s section 1985(c) claim and “form part of the same case or

 controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367.

       B.     Civil Rights Conspiracy Under 42 U.S.C. § 1985(3)

       Given Mr. Charron’s post-trial memoranda, the Court understands he has

 abandoned his claims against Mr. Moss and Pilvelait under 42 U.S.C. § 1985(3).

 Nevertheless, the Court will briefly address this claim before ruling on Mr. Charron’s

 state law claims. Mr. Charron failed to state a claim under section 1985(3) and

 therefore the Court finds no damages are appropriate for this theory of liability.

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       A claim under 42 U.S.C. § 1985(3) has four elements. Pérez-Sánchez v. Pub.

 Bldg. Auth., 531 F.3d 104, 107 (1st Cir. 2008). “First, the plaintiff must allege a

 conspiracy; second, he must allege a conspiratorial purpose to deprive the plaintiff of

 the equal protection of the laws; third, he must identify an overt act in furtherance of

 the conspiracy; and finally, he must show either injury to person or property, or a

 deprivation of a constitutionally protected right.” Id. (citing Aulson v. Blanchard, 83

 F.3d 1, 3 (1st Cir. 1996)). “[N]ot every agreement is sufficient to ground a section

 1985(3) conspiracy: the agreement must involve ‘some racial, or perhaps otherwise

 class-based, invidiously discriminatory animus behind the conspirators’ action.”

 Parker v. Landry, 935 F.3d 9, 18 (1st Cir. 2019) (quoting Griffin v. Breckenridge, 403

 U.S. 88, 102 (1971)).

       Mr. Charron failed to state a claim against Mr. Pilvelait and Mr. Moss under

 42 U.S.C. § 1985(3) because the Complaint does not allege Mr. Pilvelait, Mr. Moss, or

 any other defendant harbored a race or class-based discriminatory motive for their

 actions toward Mr. Charron. Thus, Mr. Charron is not entitled to damages against

 Mr. Moss and Mr. Pilvelait for a violation of 42 U.S.C. § 1985(3).

       C.     Malicious Prosecution

       Mr. Charron’s allegations against Mr. Moss and Mr. Pilvelait establish liability

 for malicious prosecution.    Under Maine tort law, “[t]o prevail in a malicious

 prosecution action, a plaintiff must prove, by a preponderance of the evidence, that:

 (1) [t]he defendant initiated, procured or continued a criminal action without

 probable cause; (2) [t]he defendant acted with malice; and (3) [t]he plaintiff received

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 a favorable termination of the proceedings.” Trask v. Devlin, 2002 ME 10, ¶ 11, 788

 A.2d 179, 182 (quoting Davis v. Currier, 1997 ME 199, ¶ 4, 704 A.2d 1207, 1208-09).

       “To establish the absence of probable cause, the plaintiff must show that the

 defendant initiated the prosecution without reasonable grounds for believing that the

 party against whom the prosecution is initiated was guilty of the charged offense.”

 Price v. Patterson, 606 A.2d 783, 785 (Me. 1992). “[M]alice may be inferred from the

 lack of probable cause” but a “factfinder is not obliged to infer malice from the absence

 of probable cause.” Nyer v. Carter, 367 A.2d 1375, 1378 (Me. 1977) (citing Pullen v.

 Glidden, 66 Me. 202, 204 (1877)). Inferring malice “is proper only when the absence

 of probable cause establishes in the mind of the factfinder, by a fair preponderance of

 the evidence, that there is malice in fact.” Id. at 1378-79 (citing Wills v. Noyes, 29

 Mass. 324, 326 (1832) (Shaw, C.J.)). Initiating a prosecution is malicious in fact when

 it is “wrongfully and willfully done with a consciousness that it is not according to

 law or duty.” Id. (emphasis omitted).

       This is a classic malicious prosecution. Mr. Moss and Mr. Pilvelait knowingly

 and falsely accused Mr. Charron of several crimes when they told Deputy Horning

 that Mr. Charron rammed the Pontiac Sunfire with his plow truck and pushed the

 Sunfire into a ditch. The utter falsity and extreme seriousness of these allegations

 establish Mr. Moss and Mr. Pilvelait acted with malice and without probable cause.

 Mr. Moss and Mr. Pilvelait’s intent to shift criminal responsibility for the Sunfire’s

 demise onto Mr. Charron and away from their own acts, which they may have

 committed while under the influence of alcohol, further supports the Court’s finding

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 that they acted with malice. Finally, Mr. Charron received a favorable termination

 of the criminal proceedings when the state prosecutor dismissed the charges. Thus,

 the entry of default establishes Mr. Moss and Mr. Pilvelait are liable for malicious

 prosecution.

         D.      False Arrest and False Imprisonment

         Mr. Charron’s Complaint does not state claims against Mr. Moss and Mr.

 Pilvelait for false arrest or false imprisonment under Maine tort law. 5 In Maine, a

 private party may be liable for “[a]ssisting a law enforcement officer in making an

 arrest or otherwise instigating the officer to enforce a warrant . . . .” Holland v.

 Sebunya, 2000 ME 160, ¶ 19, 759 A.2d 205, 212. However, absent “action on the part

 of [the defendant], such as physically assisting the officer,” or a conspiracy between a

 private defendant and law enforcement, that liability arises under the tort of

 malicious prosecution, not false arrest or false imprisonment. 6                  Id.; RESTATEMENT



 5        The Court construes Mr. Charron’s false arrest claim against Mr. Moss and Mr. Pilvelait as a
 claim under Maine tort law rather than a Fourth Amendment claim of an unreasonable seizure
 brought under 42 U.S.C. § 1983. The Complaint lists section 1983 as a cause of action against the
 County Defendants, but not Mr. Moss and Mr. Pilvelait. Compl. ¶ 52. Regardless, the Complaint fails
 to state a claim against Mr. Moss and Mr. Pilvelait for a Fourth Amendment violation under section
 1983. Mr. Moss and Mr. Pilvelait are private actors. A section 1983 claim against Mr. Moss and Mr.
 Pilvelait is cognizable only if Mr. Charron alleges the men conspired with state actors to deprive Mr.
 Charron of his constitutional rights. See Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 49-50 (1999)
 (explaining section 1983 claims are only viable when the alleged constitutional violation “was
 committed under color of state law”); Dennis v. Sparks, 449 U.S. 24, 27 (1980) (explaining that a
 private individual acts “under color of state law” when “he is a willful participant in joint action with
 the State or its agents”). Mr. Charron made no such allegation. Thus, he failed to state a Fourth
 Amendment claim against Mr. Moss and Mr. Pilvelait.
 6        In section 1983 litigation, the First Circuit explained the doctrinal differences among the
 common law torts of malicious prosecution, false arrest, and false imprisonment. Calero-Colón v.
 Betancourt-Lebron, 68 F.3d 1, 3-4 (1st Cir. 1995). The divergent theories of liability arise because the
 torts remedy injuries to different interests. Id. at 3-4. For instance, “[t]he interest at stake in a
 malicious prosecution claim is the right to be free from deprivations of liberty interests caused by
 unjustifiable criminal charges and procedure.” Id. at 3. False arrests, by contrast, “infringe upon the
 right to be free from restraints on bodily movement.” Id. at 4.
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 (SECOND)      OF   TORTS § 45A, cmt. b (“One who instigates or participates in a lawful

 arrest, as for example an arrest made under a properly issued warrant by an officer

 charged with the duty of enforcing it, may become liable for malicious prosecution . . .

 but he is not liable for false imprisonment since no false imprisonment has occurred”).

          Mr. Charron failed to state a false arrest or false imprisonment claim against

 Mr. Moss and Mr. Pilvelait. Although their false police reports led to Mr. Charron’s

 arrest, no allegation in the Complaint asserts Mr. Pilvelait and Mr. Moss physically

 participated in Mr. Charron’s arrest or detention beyond reporting the false

 allegations to law enforcement or conspired with law enforcement to arrest Mr.

 Charron without probable cause. Thus, Mr. Charron failed to state claims for false

 arrest and false imprisonment as to Mr. Moss and Mr. Pilvelait and no damages are

 appropriate on these claims.        Nevertheless, the same underlying facts establish

 liability and damages for Mr. Charron’s malicious prosecution claim, as discussed

 above.

          E.        Defamation Per Se

          Mr. Charron asserts a defamation per se Maine law tort claim against Mr.

 Moss and Mr. Pilvelait. Compl. ¶ 52(a); Pl.’s Mem. at 1. Defamation has four

 elements: “(1) a false and defamatory statement concerning another; (2) an

 unprivileged publication to a third party; (3) fault amounting at least to negligence

 on the part of the publisher; and (4) either actionability of the statement irrespective

 of special harm or the existence of special harm caused by the publication.” Charron

 v. Cty. of York, No. 2:18-cv-00105-JAW, 2020 U.S. Dist. LEXIS 65281, at *109 (D. Me.

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 Apr. 14, 2020) (quoting Rice v. Alley, 2002 ME 43, ¶ 19, 791 A.2d 932, 936) (quotation

 marks omitted). “Words that falsely charge a punishable offense . . . constitute

 slander per se.” Rippett v. Bemis, 672 A.2d 82, 86 (Me. 1996). “Recovery for slander

 per se requires no showing of special harm beyond the publication itself.” Id. (citing

 Saunders v. Van Pelt, 497 A.2d 1121, 1126 (Me. 1985)).

          The Complaint states a claim for slander per se against Mr. Pilvelait and Mr.

 Moss. The two men knowingly and falsely accused Mr. Charron of multiple crimes

 by telling law enforcement that Mr. Charron rammed his plow truck into the Pontiac

 Sunfire with them inside and pushed the Sunfire down the road into a ditch. This

 behavior constitutes publication of slander per se and the entry of default establishes

 liability.

          F.      Intentional Infliction of Emotional Distress

          The Court turns to Mr. Charron’s intentional infliction of emotional distress

 claim.        Under Maine law, intentional infliction of emotional distress has four

 elements. Bratton v. McDonough, 2014 ME 64, ¶ 22, 91 A.3d 1050, 1057-58. “To

 recover . . . a plaintiff must show (1) either that the defendant intentionally or

 recklessly inflicted severe emotional distress or that his or her conduct was

 substantially certain to inflict severe emotional distress, (2) that the defendant’s

 conduct was ‘so extreme and outrages as to exceed all possible bounds of decency and

 must be regarded as atrocious’ and ‘utterly intolerable in a civilized community,’ (3)

 that the defendant’s conduct caused the plaintiff’s emotional distress, and (4) that the




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 emotional distress was ‘so severe that no reasonable person could be expected to

 endure it.’” Id. (quoting Lyman v. Huber, 2010 ME 139, ¶ 16, 10 A.3d 707, 711).

       Mr. Charron’s Complaint states a claim for intentional infliction of emotional

 distress. Mr. Moss and Mr. Pilvelait’s actions on March 8, 2016 toward Mr. Charron

 were extreme and outrageous such that no reasonable person could be expected to

 endure it. The Complaint describes an evening in which Mr. Moss and Mr. Pilvelait

 harassed Mr. Charron at his home, threatened to kill him, shouted obscenities,

 intended to intimidate him, drunkenly drove a Pontiac Sunfire into the rear of his

 plow truck, and made a false police report that caused Mr. Charron’s arrest, brief

 incarceration, and prosecution. The Complaint further alleges Mr. Charron suffered

 severe emotional distress because of Mr. Moss and Mr. Pilvelait’s actions. Thus, the

 entry of default establishes Mr. Moss and Mr. Pilvelait are liable for Mr. Charron’s

 intentional infliction of emotional distress claim.

       G.     Damages

       In light of the Court’s factual findings and legal conclusions regarding liability,

 the Court makes the following conclusions of law regarding damages.

              1.     Compensatory Damages

       The Court only assesses damages for Mr. Charron’s malicious prosecution,

 defamation per se, and intentional infliction of emotional distress claims because the

 Complaint fails to state a claim for false arrest, false imprisonment, and a civil rights

 conspiracy under section 1985(3).          Mr. Charron demands $100,000.00 in

 compensatory damages; but he has not proven that amount. Considering the totality

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 of harm Mr. Moss and Mr. Pilvelait caused to Mr. Charron, the Court awards

 $65,000.00 in compensatory damages.        Below, the Court considers the various

 damages proven by Mr. Charron that support this damages award.

                    a.     Legal Standard

       “Under Maine law, tort damages ‘are intended to make the plaintiff whole by

 compensating him or her for any injuries or losses proximately caused by the

 defendant.’” Filler, 2019 U.S. Dist. LEXIS 39451, at *41 (quoting Estate of Hoch v.

 Stifel, 2011 ME 24, ¶ 41, 16 A.3d 137, 150). A plaintiff must prove damages “and the

 plaintiff’s proof must be more than ‘speculation or conjecture.’” Id. (quoting King v.

 King, 507 A.2d 1057, 1060 (Me. 1986)).

       Specific to Mr. Charron’s defamation claim, “it is not necessary for [him] to

 prove special damages or actual malice . . . to recover a substantial amount.”

 Saunders, 497 A.2d at 1126 (citing Hall v. Edwards, 23 A.2d 889, 890 (1942);

 RESTATEMENT (SECOND)      OF   TORTS § 621 (1976)).   Actual malice may justify a

 heightened damages award. Id. (citing Hall, 23 A.2d at 890). A court may award

 compensatory damages to remedy the plaintiff’s “mental suffering, humiliation,

 embarrassment, effect upon reputation and loss of social standing, so far as they have

 been proved or may reasonably be presumed.” Id. (citing McMullen v. Corkum, 54

 A.2d 753 (1947); RESTATEMENT (SECOND) OF TORTS § 623 (1976)).

                    b.     Lost Income

       The Court considered the damages Mr. Pilvelait and Mr. Moss’ actions caused

 to Mr. Charron’s self-employment income as a tree climber. Prior to his March 8,

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 2016, arrest, Mr. Charron testified that he earned between $5,000.00 and $7,000.00

 per month as a tree climber. The Court is somewhat skeptical this is accurate. The

 only evidence of Mr. Charron’s income is his own testimony. Mr. Charron offered no

 expert testimony on his monthly earnings, nor any business or tax records to show

 his typical monthly earnings as a tree climber.

       While the Court acknowledges tree climbing is a risky occupation, the Court is

 chary of assuming the accuracy of Mr. Charron’s self-serving statements, which

 border on speculation. At the same time, there is no evidence that contradicts Mr.

 Charron’s testimony regarding lost wages and therefore the Court accepts his

 statements on their face. Thus, the Court conservatively adopts $5,000.00 per month

 as the benchmark for Mr. Charron’s monthly income. The Court concludes Mr. Moss

 and Mr. Pilvelait are liable for six months of lost wages to Mr. Charron because Mr.

 Charron’s spinal stenosis rendered him disabled approximately six months to a year

 after the March 8, 2016, incident.

                     c.     Bail, Attorney’s Fees, and the Accident Report

       The Court considered other compensatory damages Mr. Charron presented.

 Specifically, the cost of Mr. Charron’s $3,000.00 bail that his mother paid and was

 returned to her after the prosecution ended, $4,710.00 in attorney’s fees for his court-

 appointed lawyer in the state court, and the $4,175.32 cost of the accident

 reconstruction report that eventually disproved Mr. Moss and Mr. Pilvelait’s claims.

       Mr. Charron did not personally incur these expenses, but he may still recover

 their cost. As Mr. Charron’s lawyer mentioned at trial, Trial Tr. at 127:11-128:3,

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 Maine recognizes the collateral source rule. See Werner v. Lane, 393 A.2d 1329, 1336

 (Me. 1978) (adopting the collateral source rule and finding it applies when “gratuitous

 services were furnished by a state supported agency or public charity”). Under that

 doctrine, “a plaintiff who has received compensation for [his] damages from sources

 independent of the tortfeasor remains entitled to a full recovery [from the tortfeasor].”

 Nason v. Pruchnic, 2019 ME 38, ¶ 22, 204 A.3d 861, 869 (quoting Grover v. Boise

 Cascade Corp., 2004 ME 119, ¶ 24, 860 A.2d 851) (alteration in Nason). The rule

 rests on the premise that “either the injured party or the tortfeasor is going to receive

 a windfall, if a part of the pecuniary loss is paid for by an outside source and that it

 is more just that the windfall should inure to the benefit of the injured party than it

 should accrue to the tortfeasor.” Werner, 393 A.2d at 1335-36 (quoting Olivas v.

 United States, 506 F.2d 1158, 1163-64 (9th Cir. 1974)).

       Applying the collateral source rule, the Court concludes the fees paid to Mr.

 Charron’s court-appointed attorney and the cost of the accident report are legitimate

 compensatory damages. These expenses were proximately caused by Mr. Moss and

 Mr. Pilvelait falsely telling law enforcement that Mr. Charron rammed them with his

 plow truck and the foreseeable prosecution that followed. Failing to award these

 damages would result in a windfall to Mr. Moss and Mr. Pilvelait, which justifies

 applying the collateral source rule.     However, the Court further concludes the

 $3,000.00 bail paid by Josephine Charron is not proper collateral source damages.

 Ms. Charron received her money back after the prosecution dismissed the charges




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 against her son. Therefore, there was no loss to Ms. Charron and no windfall to Mr.

 Moss and Mr. Pilvelait.

                     d.    Emotional Damages

       The Court considered Mr. Charron’s proven emotional damages that Mr. Moss

 and Mr. Pilvelait caused through their actions on March 8, 2016, and the ensuing

 prosecution.   Their extreme and outrageous conduct on March 8, 2016, such as

 threatening to kill Mr. Charron, shouting expletives at him, and crashing the Pontiac

 Sunfire into his plow truck, all in an attempt to intimidate him is grounds for

 emotional damages. The resulting prosecution from their false police report is too.

 In the aftermath of this incident, Mr. Charron’s incarceration, and subsequent

 prosecution, Mr. Charron suffered stress, anger, loss of appetite, trouble sleeping,

 and was withdrawn from his family. Although these emotional harms are hard to

 quantify in dollars, the Court has weighed the proven harms alongside the other

 proven damages in crafting the appropriate damages award.

                     e.    Reputational Harm

       The Court also considered harm to Mr. Charron’s reputation. These damages

 arise from Mr. Charron’s defamation and vindictive prosecution claims. As noted,

 the defamatory statements constitute slander per se, and are compensable injuries

 without a showing of special damages. Mr. Charron presented evidence that Mr.

 Moss and Mr. Pilvelait’s false statements to police were published in print, video, and

 internet media, and remain on the internet to this day. Additionally, Mr. Charron

 offered testimony that his social life has been considerably less enjoyable than before

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 the March 8, 2016, incident, his subsequent prosecution, and news reporting on the

 incident. He reports that people do not come over to his home as they used to, and

 that he has had no success cultivating intimate romantic relationships since the

 incident.

       While these injuries are similarly difficult to quantify in dollars, the harm to

 Mr. Charron’s reputation is clear. Mr. Moss and Mr. Pilvelait’s false reports to police

 and the prosecution their allegations initiated proximately caused the social stigma

 Mr. Charron experienced. The reputational harm is also likely to continue for as long

 as the stories about Mr. Charron’s arrest and prosecution remain accessible online.

 The Court weighed these considerations when crafting the compensatory damages

 award.

                     f.    Liberty Interests

       Finally, the Court considered how Mr. Moss and Mr. Pilvelait’s false

 accusations to law enforcement proximately caused injuries to Mr. Charron’s liberty

 interests. Once again, the compensation needed to remedy these injuries is difficult

 to measure; however, some compensation is appropriate. Mr. Moss and Mr. Pilvelait’s

 false statements proximately caused Mr. Charron to be arrested at gunpoint. Mr.

 Charron was handcuffed behind his back, which was painful. He spent a restless

 night and a portion of the following day in county jail. He tried to sleep on a metal

 bed without a mattress. It was cold.

       Incursions on Mr. Charron’s liberty interests continued after his release.

 Between his release from jail on March 9, 2016, and the dismissal of the indictment

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 on July 22, 2016, Mr. Charron’s bail conditions prohibited possession of firearms and

 authorized law enforcement to search his home without probable cause or reasonable

 suspicion. He was also prohibited from possessing alcohol from March 9, 2016, until

 June 16, 2016. On two occasions, law enforcement searched his home. They even

 searched his refrigerator.

         The Court views these injuries to Mr. Charron’s liberty interests as extremely

 serious. Protection from undue government intrusions on the liberty and privacy

 interests undergirds much of this nation’s legal system.       Constitutional law, in

 particular, recognizes the extraordinary privacy interests a person possesses in the

 home.    See Lange v. California, 141 S. Ct. 2011, 2018 (2021) (emphasizing the

 “sanctity of a person’s living space” in the Fourth Amendment context); Collins v.

 Virginia, 138 S. Ct. 1663, 1670 (2018) (describing “the right of a man to retreat into

 his own home and there be free from unreasonable government intrusion” as the “very

 core” of the Fourth Amendment’s protections). Furthermore, the Supreme Court

 describes the right to keep arms in the home for self-defense as “deeply rooted in this

 Nation’s history and tradition.” McDonald v. City of Chicago, 561 U.S. 742, 768

 (2010) (internal quotation marks omitted).

         By levying false accusations, Mr. Moss and Mr. Pilvelait weaponized the legal

 process to deprive Mr. Charron of these fundamental liberty interests. The Court

 concludes Mr. Moss and Mr. Pilvelait’s false accusations proximately caused Mr.

 Charron’s arrest, incarceration, prosecution, and release on strict bail conditions.

 The Court considered this in crafting an appropriate damages award.

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                      g.    Joint Tortfeasors

       The Court must address the apportionment of liability between Mr. Moss and

 Mr. Pilvelait. The Court concludes Mr. Moss and Mr. Pilvelait were joint tortfeasors

 of defamation, malicious prosecution, and intentional infliction of emotional distress.

 Maine tort law imposes joint and several liability when two tortfeasors “are the direct

 cause of a single injury and it is impossible to determine apportionment of liability.”

 Paine v. Spottiswood, 612 A.2d 235, 240 (Me. 1992). The Law Court has affirmed the

 application of joint and several liability to intentional torts. See Eaton v. Cormier,

 2000 ME 65, ¶ 8, 748 A.2d 1006, 1008-09 (affirming trial court’s application of joint

 and several liability to joint tortfeasors in a nuisance action); MAINE TORT LAW § 16.01

 (explaining joint liability may “be imposed for non-negligent tortious conduct”).

 Under joint and several liability, “[e]ach defendant is liable for the entire amount of

 the plaintiff’s damages, although the plaintiff may have but one satisfaction.” MAINE

 TORT LAW § 16.01.

       Here, Mr. Moss and Mr. Pilvelait acted in concert to harass Mr. Charron on

 March 8, 2016, and relate a false version of the events to police, which proximately

 caused the indivisible injuries to Mr. Charron’s business, reputation, emotional well-

 being, and liberty interests. Therefore, Mr. Moss and Mr. Pilvelait are jointly and

 severally liable for the compensatory and punitive damages awarded to Mr. Charron.

 As intentional tortfeasors, Mr. Moss and Mr. Pilvelait have no right of contribution.

 Bedard v. Greene, 409 A.2d 676, 678-79 (1979) (adopting the RESTATEMENT (SECOND)

 OF TORTS §   886A(3) view that intentional tortfeasors have no right of contribution).

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                     h.    Summary

       The Court concludes a $65,000.00 award of compensatory damages is a

 reasonable and appropriate remedy for Mr. Moss and Mr. Pilvelait’s torts of malicious

 prosecution, defamation, and intentional infliction of emotional distress. Although

 Mr. Charron demanded $ 100,000.00 in compensatory damages, he did not prove that

 he actually suffered that amount of damages. While Mr. Charron proved $ 30,000.00

 in lost wages and approximately $ 8,000.00 in damages from collateral sources, the

 Court is persuaded that an additional $27,000 damages award accurately reflects the

 harm to Mr. Charron’s reputation, emotional well-being, and liberty interests and is

 reasonable, appropriate, and supported by the evidence.

       The Court awards no damages for the alleged misconduct by the County

 Defendants because Mr. Charron failed to present admissible evidence that Mr. Moss

 and Mr. Pilvelait proximately caused any such misconduct.

              2.     Punitive Damages

       The Court concludes an award of $25,000.00 in punitive damages is

 appropriate. Maine law permits a tort plaintiff to recover punitive damages “only if

 the defendant acted with malice.” Sebra v. Wentworth, 2010 ME 21, ¶ 14, 990 A.2d

 538, 543 (citing Shrader-Miller v. Miller, 2004 ME 117, ¶ 20, 855 A.2d 1139, 1145).

 To recover, a plaintiff must prove “by clear and convincing evidence that the

 defendant was motivated by ill will toward the plaintiff, or acted so outrageously that

 malice could be implied.” Id. (citing Tuttle v. Raymond, 494 A.2d 1353, 1361, 1363

 (Me. 1985)). “[A]n award of punitive damages may be issued ‘for the purpose of

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 deterrence or punishment or both.’” Filler, 2019 U.S. Dist. LEXIS 39451, at *55

 (quoting Tuttle, 494 A.2d at 1355). A plaintiff is not required to submit evidence of

 the defendant’s financial circumstances before a court awards punitive damages. Id.

 at *54-55 (citing Ferrell v. Cox, 617 A.2d 1003, 1008 (Me. 1992)). At the same time,

 the record reflects that both Mr. Moss and Mr. Pilvelait are young men and there is

 no evidence in this record that they would be able to pay a large punitive damages

 award. Therefore, the Court has imposed an award that penalizes them for their

 malicious conduct but does not exact a penalty so far beyond their ability to pay that

 the award becomes overly punitive.

       Mr. Charron demands $150,000.00 in punitive damages against Mr. Moss and

 Mr. Pilvelait. Here, Mr. Charron demonstrated that Mr. Moss and Mr. Pilvelait acted

 with malice as an element of the tort of malicious prosecution. Based on the record

 before it, the Court concludes Mr. Charron demonstrated Mr. Moss and Mr. Pilvelait’s

 malice by clear and convincing evidence. The Court concludes that punitive damages

 are appropriate against Mr. Moss and Mr. Pilvelait for malicious prosecution,

 defamation per se, and intentional infliction of emotional distress. See Filler, 2019

 U.S. Dist. LEXIS 39451, at *54 (imposing punitive damages for malicious prosecution

 and collecting cases doing the same).

       The Court agrees with Mr. Charron that an award of punitive damages is

 reasonable and appropriate because Mr. Moss and Mr. Pilvelait’s conduct was

 extreme and outrageous and the law must deter and punish individuals who try to

 weaponize the legal process, spout off false accusations, and incite malicious

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 prosecutions.    The $25,000 award is what the Court finds is reasonable under the

 circumstances.

 VI.    CONCLUSION

        After reviewing the entire record, the Court finds Mr. Charron is entitled to

 sixty-five thousand dollars ($65,000.00) in compensatory damages and twenty-five

 thousand dollars ($25,000.00) in punitive damages from Defendants Christopher

 Moss and Eric Pilvelait. As joint tortfeasors, the Defendants are jointly and severally

 liable to Mr. Charron for the compensatory and punitive damages. Pursuant to 14

 M.R.S. § 1602-B and 28 U.S.C. § 1961(a), Mr. Charron is entitled to prejudgment and

 post-judgment interest at the applicable statutory rates.

        Finally, the Court DISMISSES without prejudice Mr. Charron’s false arrest,

 false imprisonment, and section 1985(3) claims against Mr. Moss and Mr. Pilvelait

 for failure to state a claim.

        SO ORDERED.

                                         /s/ John A. Woodcock, Jr.
                                         JOHN A. WOODCOCK, JR.
                                         UNITED STATE DISTRICT JUDGE

 Dated this 23rd day of August, 2021




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